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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York

  MAA/LB/CJN                                           271 Cadman Plaza East
  F. #2017R05903                                       Brooklyn, New York 11201


                                                       March 14, 2024


  By Email and ECF

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                  Re:   United States v. Huawei Technologies Co., Ltd., et al.
                        Criminal Docket No. 18-457 (S-3) (AMD)

  Dear Counsel:

                Enclosed please find the government’s production of discovery in accordance
  with Rule 16 of the Federal Rules of Criminal Procedure. This discovery supplements the
  government’s previous productions. The discovery is being produced pursuant to the Protective
  Order entered by the Court on June 10, 2019 (“the Protective Order”). See ECF Docket Entry
  No. 57. The government also requests reciprocal discovery from the defendants.

  I.      The Government’s Discovery

       Document Description         Category of                       Bates Range
                                Discovery Pursuant
                                to Protective Order

       Records regarding the     Sensitive Discovery     DOJ_HUAWEI_A_0122427059 -
            Professor.                 Material          DOJ_HUAWEI_A_0122436712

       Records regarding the     Discovery Material      DOJ_HUAWEI_A_0122436713 -
            Professor.                                   DOJ_HUAWEI_A_0122441738
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                                            Very truly yours,

                                            BREON PEACE
                                            United States Attorney
                                            Eastern District of New York

                                     By:     /s/ Meredith A. Arfa
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                                     By:    /s/ Laura Billings
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                                            JENNIFER KENNEDY GELLIE
                                            Acting Chief, Counterintelligence and
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                                     By:    /s/ David Lim
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